     RE er<lfE~
         Case: 4:21-cv-01183-SRW          Doc. #: 1 Filed: 10/04/21 Page: 1 of 24 PageID #: 1

       OCT O4 2021                   \\
1                     IN 1HE UNl~ D STATES 8th DISTRICT COUR~
2     BY MAIL                   FOR STATE OF MISSOURI
                           o~.'-.
1         lN THE MATTER OF
4         CONSPIRACY TO CRIMINAL TRESPASS ON FEDERAL CONTRACT;
5         CRIMINAL EXTRA-TERRITORIAL INVASION ACT:


5         ROYAL CONTINENTAL NUBIAN SUDAN GOVERNMENT; HIS MAJESTY LORD
7         PUNCHALL, GLOBAL SOUTHERN HEMISPHERE UNION,
8         PLAINTIFF

9                    Vs,
10        U.S. 9th District COURT Judge JGZ ; U.S. 91H DISTRICT COURT/ RECORD PROPER,
ll         ( U. S. BUREAU OF LAND MANAGEMENT(Santa Fe, NM, Division); STATE OF NEW
l2        .M EXICO ; LUNA COUNTY COMMISSION; NEW MEXICO'S GOVERNOR MESHELL
,3         L. GRISHAM (SUSANN MARTINES); DEMING CITY COMMISSION BOARD ),
l4         RESPONDENT.
l5            CLASS ACTION COMPLAINT: WRIT OF HABE'ER FA'CIAS . SEISl'NAMi WRIT
.6         OF HABEAS CORPES

.7              COME NOW, THE PLAINTIFFS in the above named case and style moving the
.8        HONORABLE 8TH District Court with a GOOD PROBABLE CAUSE CLASS
.9        ACTION COMPLAINT WRIT •
!O
!l        COURTS JURISDICTION: ARTICLE III., Sec. 2., Para&raf 2.; FSIA JURISDICTION
          A.          THE Court has jurisdiction in this matter pursuant to : The Foreign

          Sovereign Immensities Act of1976 (FSIA); violation of the 14th Amendment.Section 5.

!4        (Attempted Property Deprivation ),( Violation of Establish U.S. Court Conduct Rule against

!5        Personal wrongful Conduct : FOREJUDGER Act}: Violation of the 4th.

          Amendment (unreasonable Seizure of Federal Mining Lease Contracted PROPERTY): Violation

          of the 5th Amendment;     t9 ll5CA   2+2.
!8                                                (1)




1
               -
              6 /11,
      Case: 4:21-cv-01183-SRW Doc. #: 1 Filed: 10/04/21 Page: 2 of 24 PageID #: 2


 1                 IN THE UNITED STATES 8th DISTRICT COURT
 2                        FOR STATE OF MISSOURI
 3   IN THE MATTER OF
 4   CONSPIRACY TO CRIMINAL TRESPASS ON FEDERAL CONTRACT;
 5   CRIMINAL EXTRA -TERRITORIAL INVASION ACT:
      ~                                      -

 6   ROYAL CONTINENTAL NUBIAN SUDAN GOVERNMENT; HIS MAJESTY LORD
 7   PUNCHALL, GLOBAL SOUTHERN HEMISPHERE UNION,
 8   PLAINTIFF

 9               Vs,
10   U. S. 9th District COURT Judge JGZ ; U.S. 9TH DISTRICT COURT/ RECORD PROPER,
11   ( U. S. BUREAU OF LAND MANAGEMENT(Santa Fe, NM, Division); STATE OF NEW
12   MEXICO; LUNA COUNTY COMMISSION; NEW MEXICO'S GOVERNOR MESHELL
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22   A.           THE Court has jurisdiction in this matter pursuant to : The Foreign

23   Sovereign Immensities Act of1976 (FSIA); violation of the 14th Amendment.Section 5.

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25   Personal wrongful Conduct : FOREJUDGER Act): Violation of the 4!!!..

26   Amendment (unreasonable Seizure of Federal Mining Lease Contracted PROPERTY): Violation

27   of the 5th Amendment;   f.9 IJSCA   2.f2,
28                                            (1)




 1
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 1                        PARTIES TO THE CASE




 1   RESPONDENT
 2   HONORABLE JUDGE J G. Z                     <> U. S. 9TH DISTRICT COURT/ RECORD
 3   UNITED STATES 9TH DISTRICT COURT           <>PROPER
 4   405 WEST CONGRESS STREET                   <> 405 w. CONGRESS STREET
 5   TUCSON, ARIZONA 85701                       <> TUCSON, AZ, 85701
 6   (520)-205-4200                              <> (520)-205-4200
 7


 8           PLAINTIFFS
9    HIS MAJESTY LORD PUNCHALL
10   ROYAL CONTINTENTAL NUBIAN SUDAN GOVERNMENT
11   702 WEST FIRST STREET
12   DEMING, NEW MEXICO 88030, U. S. A.
13   punchardwilliamlord@Gmail.com/(5 75)-694-4385
14
15   ROYAL CONTINENTAL NUBIAN SUDAN GOVERNMENT
16   ROYAL NUBIAN SUDAN EMBASSY #15.
17   702 WEST FIRST STREET
18   DEMING, NEW MEXICO 88030, U.S. A.
19   pimchardwilliamlord@Gmail.com/(5 75)-694-4385
20
21   GLOBAL SOUTHERN HEMISPHERE UNION
22   DISTRICT 1. ,ROYAL NUBIAN SUDAN EMBASSY #15.
23   702 WEST FIRST STREET
24   DEMING, NEW MEXICO 88030, U. S. A. , (575)-694-4385




 i                                         OJ
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 1   _ _ _ _ _ _ _ _ _AUTHORITIES _ _ _ _ _ _ _ _ _ _ __

 2   28 U.S. C. A. Sec. 1331, Subject Matter Jurisdiction ........................... 1, 2, 3.5.11.
 3   28 U.S. C. A. 455 ( B),(1) Disqualification Rule, .................................... 12.
 4   28 U.S. C. A. 455(a), Appearance of Bias....... : ...............•................... 2.,4. 3.7.10.
 5   U.S. Vs. Belmont Bank, 301 U.S. 324{1937) ...............................4, 5.3.7.10.
 6   U.S. Vs, CUSTISS CORP. 299 U.S. 304(1936) .......................................... 14.
 7    1 ST AMENDMENT................................................... .' ................. . .... 16
 8   U,S, 1983 CODE ............................................................................... 2
 9   U.S. 1872 MINING ACT.... ....... ....... .. .. ..... ........... ... .. ............... .... ...... 7.13.
10    1964 CIVIL RIGHTS ACT ......................................................... ........ 2.
11   1983 CODE ....................................................................................... 2.
12   CRIMINAL EXTRA TERRITORIAL INVASION ACT................•.....••.... 1.2.12.13.15.17.
13   INTERNATIONAL TERRORISM ..................................... .. 13. 15 ..
14   EXTRA-CIRCUMSTANCES ....................................................... 3.
15   FSIA .. ..................................................................... ...... 1, 3, 7, 9, 11, 12, 13, 15, 18.
16                                     CONSTITUTIONAL
17   45 CFR Sec, 681.lO{d) ...... . ....................... . .... .. .......... 2.3.4.515,18.
18   45 CFR Sec, 681.lO(F) ............................................ 3,4,5,7,8.9,10,14,17.
19   ARTICLE III, Sec. 2. PARG. 2 ....................................... 1, 5, 14, 15, 18 ..
20   ARTICLE I., Sec. 10. Reprisals /CITY..... . ..................... .,,,,2, 15, 18.
21   4TH .. AMENDED ......................... . .......................... ..... ...... .. ....... 1.8, 11.
22   5TH AMENDMENT................................ ..... ................. . ... ............. . .. .1.
23   14TH AMENDMENT............................................ . .... . ................. 1, 6, 9,11,
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25   U.S, LOGAN ACT................................... . .................... ... .. .. ................ ~,

26   6m Amendment. ...................................... . ... . ............. . ...................... 2.3.11.4.18.

27                                                    <cl8                                                                               4- ,A )
        2 g ll ~ c A- I 3 q 1 · A (:{)
        2B!l~CA 13 91, £ Cc) -                                                   -                   _/ -                            - 4-.A ,
        2Q U 5 c. A I 3 91,                         t ( 2)            _              ~                       _ 4, 13    _                             .
        1 'is tlScA 2 42                         - - {fxJl;o;fA) ;'---                         {Exll!ldiTo)-- - 3)5", t:, ~
 1
                                                                          (ii)
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 4   CORPES DE NOVA ......................................................... _. ... 1., 2.

 5   PROBABLE CAUSE , Subject Matter Jurisdiction ............................ .... 3.

 6   HISTORY ... COUNT 1. .. (FIRST CASE STATEMENT, HISTORY) . . .... 4. 6. 7.

 7   HISTORY ....... COUNT 2. ... (SECOND CASE STATEMENTS) ............... 5.
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12   CONCLUSIONS,,,,,COUNT 1. COUNT 2 . ...................................... 17.,18.

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14   (EXHIBIT B) ..........DOCUMENT No. 38.........................,6.,7. 15.

15   (EXHIBIT C) .................. CV-98-0140 JC/RPL. ........................4.

16   (EXHIBIT E) ........... NOTICE TO "BLM"................................. (EXHIBIT .. 1.,2.

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18   (EXHIBIT G) ... REPLY to Notice to Vacate by(Luna County) ........... 4.

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20   (EXHIBIT P.1) .... UTILITY PROFF BILL BY City........................................ 2, 17.

21   (EXHIBIT p.2) ...... UTILITY Recipt ... by City .............................................. 1. 7

22   (EXHIBIT P.3) .......... OVER CHARGE ,,by City,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,1. 7

23                                             (iii)




 1
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 1   4-~   Amendment (unreasonable Seizure of Federal Mining Lease Contracted PROPERTY):

 2         Violation of the 5th Amendment. (FAILURE TO DUE process).( and Attempted to aid a

 3         Double Jeopardy) .(Attempting TO AID Criminal Extra Territorial Invasion by a

 4         EMINENT DOMAING of a Foreign International Trade Zone), (Criminal Trespass to

 5         Chattel ); VIOLATION of Article I., Section 10 (Reprisals ):         Violation of the1964

 6         Civil Right Act (State DISCRIMINATION ON Origin) ; Violating the Conduct 1983

 7         Code By County: 28 U.S.CA.1331,Subject Matter Jurisdiction Violating of 28_

 8         U.S.C.A. 455 (A) Appearance of Bias; Attempting a Political Exercised Counter
                                                                                                           I
 9         Claim (28 U.S.C.A. Sec. 1331l Mandate ; Willfully attempted Malicious

10         Prosecution ; 6 th Amendment, (failure to Court Certify Political Counter -Claims

11         subject Matter Jurisdiction ), (Bias Suaponde Attempting to Hi-Jack a Defaulted

12         Case Position ,45 CPR SEC. 681.10 (d) ); _         This court has Jurisd.iction: 2.B{ISCA/J7/,E(c).

13         JUDICIAL STATEMENT

14              THIS IS A Foreign Relations Contract CASE HAVING WRIT OF HABER FASCIAS

15         VISUM ; HABEAS CORPUS - DE NOVA -



16                   REDRESS PETITION (EX POST FACTO MOTION)

17         While Plaintiff was waiting for a Response back from {THE Motion to RECUSE} U.S. 9th

18         Appeal (En Banc), (EXHIBIT I ) the Time Ran out for a Case Appeal.        Rule 35 did not

19         have accompanying in front of the Rule 35 . the Caption REFLECTING "45 Sec 681.10,"

20         in front to make Plaintiff Recognize that there would be no MOTION TO REDRESS

21         ACCEPTED. Pursuant to 45 Sec. 681.lO(g}. Plaintiff Moves The Honorable U.S. 8th

22                                                      (2)
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 1       ( DISTRICT Court To Consider This Paragraph As A MOTION TO REOPEN Pursuant to

 2       with EXTRAORDINARY CIRCUMSTANCES AS Sec. 681.l0(F}. What the 9th Disbict

 3       Court System has filed (Mandated) now, is with out Court CLERK 'S Certification, and

 4       Lack of Subject Matter Jurisdiction. Plaintiff's reason for not Repetitionin& the u;s. 9111

 s       D,C. , is The Rm,ondent JGZ Court       has Such a Predominate Force   Over the Tucson
 6       Site (to Aid The Defaulted. Defendants ) that , Such Attempted Record Proper Redress

 7       Motion (45 Sec. §81.l0(F) ) would not Survive Her OVert Ap_pearance of Bias 28

 8       U,S,C,A, 455(A} • PLEASE SEE; (EXHIBIT A .• B. )

 9

10                               FEDERAL QUESTION

11       1.      1. 4 th Amendment, 45 CF Sec. 681.10 (d) (Deprivation of Defaulted Case);      2.

12       5th Amendment, (FSIA) ,(Invasion of Foreign Property); *3.      6th Amendment, 28

13       U.S.C.A. Sec.1331 (Bias Jury); *4. FSIASUBJECTMatterJurisdiction; 28ascA 2+2,

14

15                            PROBABLE CAUSE

16       2.        This Case Counts is not to determined the Ownership of the Federal Mining

17       Leases. But, to &ain the Defaulted Case Part Pursuant to 45 CFR Sec. 681,10 (d); that bas

18       been Hi-Jacked In violation of 6 111 Amendment (rrivate PrQperty) by ! ·        t1GZ

19       Court     With in this Defendant Defaulted Case the original Complaint is for the U. S.

20       Marshal Service Protection to Vacate Defendant.S's Criminal Trespass; The Court's

21       Remedies for Compensation for the Losses caused by the Defendants State; Defendant

22       County ; Defendant City ;and Defendant Feden,J Department {BLM).

n                                                ~
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 1                                         IDSTORY

 2        3.     Pursuant to Courts Ruling , U. S. 10th District Court, CV-98-0140 JC/RLP, ; and

 3      U. S. 1ot11 Appeals Court, the Plaintiffs is the Legal Holders of the Federal LEASE

4       Contracts to the Mining Property. PLEASE Sl:E: (EXHIBIT C). BUT, Defendants
                                                                        . lib

 5       refuse to Vacate (EXHIBITG).LEXHIBlT . F) . When earned to Court the U. S. 10•

 6       District Disposition that the Plaintiff had the Mining Leases if he had Filed Papers on file.

 7                                          \

 8      4..       U.S. 10th District re.fuse to acknowledge U.S. Vs. Belmont Bank.301 U.S.
                                      '               ,,


 9       324(1937). there is no use filing FOREIGN RELATIONS CASES in!.Viol~ting 611i

10       Amendment , Bias U.S. !0th Distria Court. They were Challeng, but refuse to. Redtess
                                                           -
11       Constitutionally. Yet, the County Defendants/ Attorney attempts-to play fraud on

12       unsuspecting Courts. To Block Plaintiff from returning with a Eviction Complaint.



13       5.       SO,   lN 11tE J>RESENT CASE•.this is also A FOREIGN RELAnONS CASE

14       ,In this PRESENt CASE Subject Matter(4:19-CV-00159-JGZ), (WRIT OF MANDAMUS to

15       recuse Justice) the Appeals Court Refused to Vote; the Plaintiff come to

16       8th District Court to gain form the U.S. Contracting Government Property Patents.

17       Plaintiff's Minin& Prwertt Patent Rie)lts that {U.S. 9c1a District Justice has by uncertified

18       Court Subject Mattered Jurisdictioned Hi-Jacked) • has been held Hostage in Violation of

19       Sooh Amendment · . Defendant has Defaulted (Count *1. Document No. 29; and Count *2.
20       Document 38.) by failing to Tunely Answer the CoUrt's Summons. 45 "CFR Sec. 681.10 (d).

21                                              (4)

22
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                         28 U.S.C.Sec. 1391.a( 1)


  The Subject matter Venue of this Case is not directed for sitting at the Place of Origin.

However, the Original Place is waved by statute that said that any Venue may be applied;

EXCEPTION Apply WHENEVER, THE Federal Governments has involvement as a U.S.

Employee Party or any Agency, Or the United States is a Party to the Case.      28 U.S.C.A.

1391.E(c)


1.    In the present case, the Defendant U.S. JGZ District Court Judge is a Employee of the

     Federal Government: and the Application of the Doctrine of Contained Venue does not

     Apply. There is no Venue .




                                                                           -
2. The U.S. 9th District Court is a Federal Department and is subject to 28 U.S.C.A 1391. E(C).

     There is no requirements placed on Venue. This Writ is to recover Plaintiffs Right to Justice

     won under the color of Law, A Case being Held by the Defendant in violation of 18

     U.S.C.A. 242 (A Act of Discrimination based on National Origin; Race).        Appearance of

     Racial Bias(EXHIBIT A) 18 U.S.C.A. 455(A).        Violation of 18 U.S.C.A. 242 (EXHIBIT B),

     Prior Knowledge Violation 18 U.S.C. A. 455(8).    The Writ Addressed the Subject Matter of

     18 U.S.C.A. 455 (B) Disqualification Due to Prior Knowledge of the Case Subject Matter.

     The (EXHIBIT A), (EXHIBIT B) is the same Subject Matter Refiled. THE DEFENDANT

     OVERTLY Violations 42 U.S.C.A. 192 ,chapter 16.
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3.        The Second Defendant is the U.S. 9th District Court Record Proper. The U.S. 9th District

     Court is a U.S. Department of Justice and the Sections Allow the "WAVER"of Sections that

     require Application of Venue.                       The District Court has the Record Proper that shows that

     All of the Defendant Served under RULE 4. have Defaulted, Because All Defendants failed

     to Timely Answer the Courts Summons.                                Rule 12..          The Plaintiffs Writ addresses the

     Subject Matter of the Failure of Defendant to Answer Timely. This WRIT is aimed at

      releasing the Judicial Statements of the Record Prope )                               JhMJJ~ tl,t;,MA!?ShAi.s                       <stt.V~

                                                  JURISDICTION


4. IT••···h!!!eLlS~U~M~M~O~N~S!Jm~ayk'_QCr~o~si.s.!:Te~rcrrl!:itoQ!r~al!..l~let!!m'.!!i£ts!...l,128~U~.S~.~C.~A~._!1139~1b,JEJ{l2l.i.);..f!foQir

     making service.

5. also, When Foreign Parties are involved in a Case the "Jurisdiction" Requirements are

     Waved. The Section states a Defendant, However, a Foreign Plaintiff is Foreign Relations

     Pursuant to U.S. Vs, Belmont Bank 301 U.S. 324(1937) Opinion of J. Sutherland, When it

     comes to our Foreign Relations the State does not Exist.
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1              STATEMENTS OF FIRST COUNT FACT

2         1.        The Plaintiff's /Government is a Member investor with interest in (GOLD

3         MINING) this U. S. ; Foreign Mining Contract;         In the Past, He Single Handed

4         attempted to Solve this Vacate Subject WITH GOOD FAITH , But ,due to the

5         Misconduct of the Judicial Respondents. , System, The Problem Remains, So, This is 2

6         Recovery Writs: When Respondent JGZ had the case under ARTICLE III, SEC.2. and

 7        chased to attempt to insert a Uncertified Court Clerk, 28U.S.C.A. Sec. 1331, Subject

8         Matter Jurisdiction. she Chose to Withhold Justice granted by (FSIA). Re-Raising the

9         Defaulted Defendants with out a Subject Matter Jurisdiction Counter Claim, all the

10        time stating that she has no Jurisdiction.



11             A.     In these 2 Cases Conspiracy Complaint PLEASE SEE: The Oldest One, Count

12        1., (EXHIBIT A ), 17-CV-148-TUC-JGZ, Document No. 29., PAGE 5.,LINES No. 17.,

13        23. (WHERE Defendant B.L.M. failed to Timely ANSWER the Summons). The

14        Respondent JGZ Attempting to Suaponte with a Fictitiously Counter Claim,to cure the

15        Defendant 's Defaulted (45 CFR Sec. 681.10 (d)) by raising them Up Again; with·

16        receiving Fictitiously Mandating, to holding A Forbidden counter-claim Action ( that has

17        No new Court'sFiling Record ) in Bad Faith .



18        B.         At the same time. Dening the Plaintiff's Patents Documents.   Respondent JGZ

19        Court failed to file a Re-opening Motion by Caption ,nor Petition ,45 CFR Sec. 681.10 (F)

20                                                (5)
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1     Record Proper Caption where the Defendants have MOTIONED to reopen the case ,45 Sec.

2    681.lO(F).



3     C.      Respondent JGZ Court Statements after the Default has No Court Clerk Certified

4     Standings.. Plaintiff has not found any Record Proper that Defendant has Filed A NOTICE OF

5     APPEAL, 45 Sec. 681.10 (I). The Defendant's Default Silence is a Failure to make a Statement

6     up on which relief could be granted.    Plaintiff Petitioning WRIT for a Case Release is Justified.

 7    Technically, This case is yet open.



 8    D.. That Defendant's Default Activated The Complaint Suit Request for INTERNATIONAL

9     TRADE ZONE Status.          The Defendants Damaged Mining When they Criminally Invaded.

10    The Plaintiff also Complained By a Petition to the District Court for U.S. Marshal for Service to

11    Vacate the Defendants. The Complaint was pushed aside. The ReRaised Default Defendant is

12    without showing of any

13    Jurisdiction being approved for Reopining after " ALG" approval.

14                                   ISSUES OF SECOND COUNT

15    1.   The Case officially ended for Defendants at Default PLEASE SEE: SECOND CASE (19-
16    CV-OO159-JGZ), (EXIIlBIT B), DOCUMENT No. 38 ), showing Respondent JGZ Judge
17    attempt SUAPONTE interfere and attempts to Cure their Failure to Timely Answer the
18    Summons 45 Sec. 681.10 (d). Second Case Officially ended,'
19
20    *2. Court's Suasponte is not Court Rules ,nor Court mandate; such requires complyance With
21    U.S LOGAN ACT. Such Suasponte is Persona not Court Rules , SEE: Doc. No. 38., Page 2.,
22    Lines 2., 3., 3.,4. & Page 3. line 2.,3. &page 6.,lines 25.,26.,27 .• 28.. all litigation stopped at
23    DEFAULT, there is no Court reflecting RECORD PROPER TO Certifie SUASPONTE.
24                                                    (6)




 1
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1         ISSUES OF TIIE SECOND COUNT

2         Respondent JGZ Judge attempt SUAPONI'E interfere and attempts to Cure their

3         Failure to 'Iimely Answer the Summons 45 Sec. 681.10 (d). Second Case Officially

4         ended, the Defendants Luna County became Defaulted • 45 CFR Sec. 681.10 (d), But, was

5         Attempted Protected by the Respondent JGZ Court's Fraudulent, Fictitiously Political

6         Counter-Claim. Raising the Federal Question of Double Jeopardy • 5th Amendment Due

7         Process.



8         2. ISSUES A Baseless ·SUAPONI'E Attempted BILL OF A'ITAINDER by U. S. 9th

9         District Court JGZ. Had it been Mandated, it have violated the U. S. FSIA Code.; it

10        was not Certified. Document No. 38. (created after the Default) should be Denied by the

11        Court, For Lack of Presenting Subject Matter Jurisdiction Attached.



12        A. ISSUES,      Suaponte Fraudulent Matter by Respondent JGZ. Violations the

13        Plaintiff's 6th Amendment : Rights to Impartial Juey. A unethical Act against "FSIA" , a

14        Bias Attempt to Politically .A id (EXIDBIT B ) , a minder tnat one of the Defaulted

15        Defendants is a Federal Party, in violation of U. S. Vs. BelmontBank, 301 U. S.

16        324(1937). Opinion ofJ. Sutherland... When it Comes to our

17        Foreign Relations the ~TATE does not exist.

18

19        B. ISSUES,      Defaulted Defendant have not made a Statement up on which Relief could be

20        granted; Nor that would &ive Leave to reopen , 45 Sec. 681.10 {F) the Closed Defaulted

21        Matter. Respondent JGZ Court may not act as The Defense Counsel ;and Judge Both ,28

22        U.S.C.A. 455~ Appearince of Bias., Misrepresent the ...   ¢   Record Proper.

23                                                (7)
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 1                             ISSUES OF TIIE CASE

2          To avoid looking Bias the Respondent JGZ should have held her PREMATURE Suaponte

3         statements, Document No. 38. until one of the Defaulted Defendants made a Motion (45(F/?.

4         Sec. 681.10 (F). to Reopen. As it stands, the Respondent's attempted Rush to Judgment is

5         Premature, has no foundation offered by the Defaulted Defendants FOR Probable Cause.



6         C. ISSUES, The Plaintiff's Notice of Default is clearlly (EXHIBITED) by the Respondents

 7        JGZ attempted to ReRase, Cure Defendants. There is no final Record Filing until those

 8         Motions are Answered. All Statements made after the Default is not applicable to this case.

 9        Filing of the Writ to remove the Default from under the Respondent is a recovary of

10        Plaintiff's 4 th Amendments (Unreasonable Seizure).



11        D. ISSUES,      the Case is Closed before the Respondent Attempted to Suaponte

12        Document No. 38 is Moot, and should not be allowed to stand as a Certified Statement.

13        Plaintiff has no more arguments to apply to the Defaulted Defendants. This Attack is to

14        remove what Respondent JGZ has no right to (THE VICTORY OF THE CASE).



               3..   ISSUES,    Plaintiff's Mining Patent Deeds Real Property Federal Mining Lease

               are Being Held Hostage by Respondent JGZ. The Status of Action held by

               Respondent JGZ is a Suaponte Forbidden Political Counter-Claims.        It has no

               Defendant Party Foundation Support FROM A Certified Court Clerk Case

               Caption.    It was made just to wast the Courts's Time; and Money of the Plaintiff.

               (8)
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1        A. ISSUES, The insistent attempt to saddle the Plaintiff with a Counter -Claim

2        (Filings Restrictions) Fraud is yet being attempted by JGZ Court. Even though, the U.

3        S. gtta Appeals has Removed the Counter-Claim Fraud, the Respondent attempts to hide

4        behind it. Because this Suaponte By JGZ is Not Certified, The Writ is Suficed.



             4. ISSUES, Plaintlff had askin1 for US. Marshall Service; Courts Remedies for

             compensation for Losses. So, (in second case, CV-19-00159-TUC-JGZ,           On the

             Date 04/09/2019 The Plaintiff Served a Summons on the Defendants with there Due

             Date being on the 4/30/2019 , But, Except the Case having a Federal Defendant Party

             , the Due Date for Him beina 5/16/2019. The None-Federal Defendants and the Other

             Defendants All Came Late (45 CFR Sec. 681 .l0(d) )and Untimely to Answer the

             Summons issued by the Court Clerk. Respondent JGZ has attempted to make

             "Fraud" on the Defeult so as to Claim No Personal Jurisdiction ,Thus,to push aside

             the Foreign State Immunity Act (FSIA) , 14* Amendment Rights to the Case worked

             for.


                                        FACT   OF111E     CA§B

              1.      ~ is           so aggressive that it makes returning 1-0 ~~ly_!!_ns Writs-


              there ('Tucson) would be another Prejudice Rush to Tuke Over By Respondent JGZ.

             Hense, The U.S. 8th District Court is Petitioned. JGZ has a History of Case

             Invasion. She Just aggravates to the Point that a FSIA Case is Needed to answer

             the Federal Question. She do not understand her impact on International

             Reta!ions. _ JGZ's_Su~nted Fraud are Ove!l Bias insulft Out side of Court


          t _(9J
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             FACTOFTHE CASE


             Mandate.         So much so, that the Plaintiff GLOBAL SOUTIIERN HEMISPHERE

             UNION HAS BECAME CONCERNED: American Air Bases in North Africa is now

             Cause to come under review by the Unions observing Pursuant to the Attitude by

             Respondant JGZ Court. This Matter Rases by infrence Questions that the New

             Global (it 10 years old) Court May be Petition to on behalf of it's Citizen ,Members,

             Plaintiff's Royal Nubian Sudan Government is al so a Member. The Federal

             Question there is ,CAN the Global Union Members FIND Judical Justice, at U.S.

             State side ? or is Respondent JGZ Acts a ReOecdou of R;eal f ~ U.S. Morality?

             U.S. Courts are to have no Political Mandate. It's Appears that Respondent JGZ

             h~ J~ow en ot~ _W :g~ ~8 _U .S.c~. 45~(A) ~i~          __

1                     2.     THE Respondent JGZCOURT Interfered in the beginning by wrongful

2            Invasion Prematurely with Double Jeopardy (then Magistrate had the Case, no

3            answer to recuse Motion had came yet). ( U.S. 9th Appeals court is the only ReR.aiser 45("

4            Sec. 681.10 ( i) ) .


5            2,(A).        Now ATTEMPTS TO RE-RAISED THE DEFAULT Defendants            wrm OUT
6            Filing a Motion to Re-Open, 45 C9Sec. 681. 10 (F). The Court do not reflect any

7            New Filing to Re-Open the Case • Such a Case is Certified, and cannot be Mandate

8            in JIG'S Spontaneous Favor to hold a uncompleted Case. The Writ Cures the

9            Miscarriage of Justice.


              3.           The Re -Raised Default Defendants are in Name Only as R.e Raised. There

             is No Subject Matter Jurisdiction Attached t~ the AttemptectRe Raising to allow it_
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          FACT OF THE CASE


          to stand. Thus, failing to make a statement up on which relief could be granted.

          Plaintiffs Lease Contract investtnent being a Foreip Government Relations ( Matter , is

          not .subjected to the Doctrine of EMINENT Domain.         Res.pondent              JGlCourt

          Created Suaponte is a Doctrine of Deprivation of the 14 th Amendment, Section 5 • A

          Federal Question BILLOF ATTAINMENT to allow Defe,idant to Attemp to Criminally

          Deprive b_y EMINENT DOMAIN .the PlaiJltiff 's Federal Conttacted Property. Document

          No. 38; Document No. 29 are_M_oo! unse_rtt_.fied_Acts.
                                                             ='---


1         _a.         Res.pondent JGZ Acted on her own to Create a Wrongful Depriving (two

2         nmes) Disposition .with out any Defaulted Defendants placing any Subject Matter

3         Jurisdiction (28 U.S.C.A.1331) to the Case bein& eli&ible to file Leplly Respected

4         Documents. Thus, Violating the Plaintiff's 5• Amendment Rights to his Property.



5          4.     Defendant Luna County's Default Ended their Legal Filing Status, and All

6         Attempted Documents Filin& After the Default has No Record ReDectina Where they Filed

 7        With the Court Clerk for a New Certified Cause ;and Any Attempte to Claim Defendants a

8         Jurisdiction is Moot; SEE:. U. S. 301 U. S. BELMONT BANK • 324(1937)...0PINION

9         OF J. SlITHERLANDu.When it Comes to our foreign Relations the STATE Doe.snot exist.

10        Thus, There is no State LINE Districts, Nor STATE Venue, AND NO           urn Amendment
11        state Immunity in Federal Coon Pursuant to "FSIA Cases.

12

13        •1. Unnecessary Arguments a uncertified Case filing goes to the Credit of judicial Morality

14        Doctrine. Courts causing imposing such are maliqpus. All Litigation such ends at Default.

1s                                                  (II)
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1                       ARGUMENTS OF THE CASE

2          1. The Default Triggered the granting of the International Trade Zone Rights. Th~

3         Plaintiff's International Trade Zone FROM THE First Case Complaint, Was also Repeated

4          in the Second Count for a Second Time, and Won By Defendant"Default's Status.



5         A.     All the Defendants (Documents# 38) show a Bogus Position Attempted Spontaneous

6          is Without Clerk's Certification, 28U.S.C,A,455(B),(1) DISQUALIFIES RULE. All

 7         attempt to Legal interning Re-Raising Defendants in to the Case after the Default is a

8          Political Forbidden Counter-Claim, Bias Action against (FSIA) Code(7/19/2019). (FSIA)

9          Confers Personal JURISDICTION ON COURTS, IF ITS REQUIREMENTS

10         ARE MET. Respondent JG Z AT Present, Is attacking the Constitutional Protected Rights Of

11         the Plaintiff to Do Business with the US. Government. Respondent JGZ hold no Political

12         Raised Mandate Jurisdiction , Her Refusal to Redress Shows Bias.



13         B.    The BlM Defendants Never did do their Mandate to grant the Plaintiff His Paten'D.-



14          C.     The Attempt is a Fictitious Political Counter -Claim violating (FSIA); the Court's

15         Mandate. Such Political Mandate is Wrongly holding the Plaintiff's Rights to The 14m

16         Amendment Section 5. DUE Process Granted, SEE: U.S. 10th District Court, (EXHIBIT C ),

17         Page 3. Parqagraph 1. . Respondent JGZ Filed Criminal Extra-Territoral

18

19                                            @




 1
     Case: 4:21-cv-01183-SRW Doc. #: 1 Filed: 10/04/21 Page: 19 of 24 PageID #: 19




1              ARGUMENTSOFTHECASE

2         Invasion has no Legal Right to Attempt to Eminent Domain. The Default Rights created,

3         the New International Trade Zone. Such are classed as same as Corporations Status;

4         City; as Persons ; in this case Foreign EMBASSY STATUS; the Writ of Habeas Corpus

5         is placed for its Release. U.S. have no Morial Right to Object,"BLM" allowed truspass.



6         C.      Defendant Luna County had DUTY to Protect the Plaintiff's Interest in the Mining

7         Lease Matter pursuant to a).    Each Year the Plaintiff Paid the Required Assessment to the

8         Defendant Luna County. U. S. Mining Act of 1872 .. The Defendant instead of given

9         Protection plaintiff's Enterprise of Mining , the Defendant sat out to Violate their Mandate

10        with Attempted CRIMINAL EXTRA TERRITORIAL INVASION.                        This violated the

11        Plaintiff 's 4 Amendment (unreasonable seizure) . The Defendant JGZ Holding Plaintiff's

12        Property Deeds are Acts of Forbidden invasions by Counter-Claim in Foreign Relations

13        Cases.

14

15        D.          Defendants often used the Claim of Plaintiff Restrictions to Block Returning to

16        (1937) Opinion of J. SUTHERLAND ....The executives has the sole right to represent his

17        Government;

18

19        E.       Plaintiffs has won some Two Times already, However, Plaintiffs Need for U.S.

20        Marshal's Service is yet unanswered. Defendant BLM Mandate WAS to instruct the

21         (13)
     Case: 4:21-cv-01183-SRW Doc. #: 1 Filed: 10/04/21 Page: 20 of 24 PageID #: 20


 1       ARGUMENTSOFTHECASg

2                         The Respondent JGZ attempt to Give the Defendants State advantages in a_

3        ARTICLE Ill. Section 2. Discrepancy Wrongfully; They suffers from the Doctrine of None-

4        Dele&ation ,_ This means that the Attempted obseivance of State Jurisdiction , State

5        District • and State Venue Claims has no weight ; Not even, before, nor After the Defendants

 6       had became Defaulted.



 7           G~       What The Plaintiffs and the U.S Government Trade A&reements has. and Federal

8        Mining Leases that the U. S. Government h ~ a d with the Plaintiff/Government ,is not

9        subject to State Ri&ht to interfere • Even with the Help of the Respondent JGZ Court to BILL

10       AITANDER Act of EMINENT DOMAIN.SEE: U.S. Vs, CUSTISS. 299 U. S. 304 (1936)..

11       Opinion of J. Sutherland. the State has no Status In Foreign Contracts,,.

12

13           .L         About Case 17-CV-00149-JGZ /FSIA

14       ,        Respondent JGZ willfully over looked The District COURTS CLERKS RULES:

15       TO Create a needless FEDERAL QUESTION Case.                The Respondent JGZ Court has a

16       right to Suapone, Brook, Vs. CMnmnes River Land LLC. No. 2:l!k:v;.02533-MCE-AC,

17       2020 WL 2062182, AT *1 (E.D. Cal. Apr. 29, 202Q), But. IT CAN NOT BE AN AITEMPT TO

18       bill of attainment: nor CAN The suaponte Re-Rase a Party unless a ¥otion is ask for 45 CFR

19       Sec. 681.10 (F). The first step is to File aAc;:tion ill
20           District Court Clerks Office. The Document No. 38 . did not comply to Court RE-



21                                                       (14)

 1
     Case: 4:21-cv-01183-SRW Doc. #: 1 Filed: 10/04/21 Page: 21 of 24 PageID #: 21


1         ARGUMENTS OF TIIE CASE.

2         OPENING RULE, Nor observe Constitutional ARTICLE I., Section 10., Reprisals.



3         A.      when the Court Clerk issue a Summons to be served, is when a case has a legal CASE

4         Number . The After Default Respondent JG Ruling Reason for Dismissing the

5          Conspiracy Complaint has Grounds. To Save the Government the Defendant

6         Attempted to not have (ASIA) Subject Matter Jurisdiction to sat the t.ase on Federal Question,

7         Attempting to Playing Fraud on the Plaintiff.




8          B. .    In Both COUNTS, IN (CV-19-00159-JGZ)in particular, each Case at the Point of

9         Defendants Default, 45 cfr Sec. 681.10 (d) the Case Ended. Yet, All attempt to File

10        Documents after that date ,they are Foreign Document (not Certified); that is not to be

11        Counted as a lepl Defense in the Case that Defendant failed to participate in . _

12        DOCUMENT No. 38. (EXIUBIT                 B) IS A Attempted TO Fictitiously DO A BILL OF

13        ATIAINDBR. Document No, 38 attempt to by pass the Court Clerk's Filina. From the

14        time of the Default, this Defendants State has attempted to file Political Documents . U.S.

15        Courts Mandatt do not allow Court's Political Made Mandates. Counter Claim are

16        Forbidden in Foreign Relations Cases, It Violates the U,       S, Foreioi Agent Act.
17

18        C.      Criminal Extra 'lerritorial Invasion to Attempt Eminent Domain is Criminal ; and

19        The attack is International Terrorism in Foreign Relations All Federal Courts have Jurisdiction

20        . When it is a violating and a Foreign Minister its a ARTICLE III. Section 2. Matter (FSIA).

21        D.      The Record (CV-17--00149-JG) Shows that after Defendants Defaulted, the

22        Resp~>ndent    JGZ Court attempted give Disposition Contrary to the reflected Record Proper.
23                                        (15)
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 1        ARGUMENTS OF THE CASE

2         Thus. Violating Plaintiff Rights[ allowing the Defaulted Defendant another chance to attempt

3         Eminent Domain , Criminal Tresspass.



4         E, , There was no Personal Jurisdiction Questioning presented against the Court's

 5        Personal Jurisdiction (FSIA).   From the Time that Defendants Default the Property has

 6        received WHAT THE Complaint Petition ask for a INTERNATIONAL TRADE ZONE

 7        STATUS. Respondent JGZ attempted to create conflict VIA Suaponte to aid a Criminal

 8        Trespass to attempted Eminet DOMAIN . Due to Damages by Defendants

 9        the X-Federal Mining Leases is now Offically Schedule to Be a INTERNATIONAL TRADE

10        ZONE I EMBASSY ,Won by the Defendants Default.

11

12         F.    The Defendants JGZ 149(CV-17-00149-JGZ) Statements of her requirements HAD

13        NO JURISDICTION THE First Amendment, that Plaintiff should abandon His First

14        Amendment Complaint,        Respondent JGZ claim to not be able to Jurisdiction (FSIA) a

15        FIRST AMENDMENT IS Fraud. No Defendant State has made a legally Question Personal

16        Jurisdiction in a FSIA Subject Matter Jurisdiction; Respondent JGZ played Fraud on

17        Attempting to Re-Raising Magistrate. Whom has not answered 45 Sec. 681.10 (i~C FR        ,


18        .G.      THE DEFENDANTS CONTINUE TO Attempt to Eminet Domain Property

19        that not Even the Federal Defendant has under it's Jurisdiction. Defendants At Point of

20        Default, ACTIVATED THE COMPLAINTS PLEADINGS.                 So, Another one OF THE

21        Complaint, Pleadings is that the Property become a INTERNATIONAL TRADE ZONE;

22        (16)
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1         THIS IS why this Writ is bein by 19-CV-00159-TUC-JGZ; CV-17-00149-JGZ

2         h.          Respondent JGZ attempted to Do a Bill OF ATTANDER, By Raising up again the

3         Defaulted Defendants to allow Criminal Extra Territorial Invasion . Even,

4         Admitts that the Defaulted Defendants had to be raised up again. Totally over looking

5         that the Case had ended Legally for the Defendants State. The Defendants failed to state a

 6        Claim up on which relief could be granted. RESPONDENT JGZ Court is holding this Due

 7        Process Case Hostage Politically.; Respondent JGZ Court Attempted Re-Raised

8         Defaulte_Defendant in name only. See: Count 2. :Document No. 38; and Count 1.

9         :Document No. 29. Has no Subject Matter Jurisdiction Attached.



10                           CONCLUSIONS

11             By Defendant failing to timely answer the Original Summons , any following Documents

12        Filings should have been through the Court Clerks ,or Appeal Court's Approval,or AS A New

13        filing Process. To continue to pursue Filing in the Original Case ,was a Moot Cause, 45 CFR

14        Sec. 681.10 (d).   ;INTERNATIONAL TRADE ZONE. that came with the Defendants

15        Default:     There is no Record Proper of Defendants Petition to Re-opening the Case (45

16        CFR Sec. 681.10 (f), for which Defendant JGZ Court is attempting_Rush to Mandat ;

17        The Defendant Deming City has Before Defaulting, deprived the Plaintiff Embassy of Utility

18        Services (water) Rights as a Reprisals. SEE: (EXIIlBIT P) (EXHIBIT Q), (EXHIBIT R).

19        Plaintiff Has Paid All The Bill. They Defaulted, and should suffer the Writ. ;The WRIT IS

20        JUSTIFIED (FSIA),        Respondent JGZ is holding NO Legal Position. Document No. 38.

21        The Record Proper do not reflect any Clerk Case New Filed Petition (45 CFR Sec,

22        681.l0(F) )for the Count 2.:Document No. 38. ;Nor in First Count: Case Document No. 29.

23                                                 (17)
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1         CONCLUSIONS

2         It'There is no Subject ~atter Jurisdiction Attached called attempted Reprisals, . ·   1


3         MALICIOUS litigation. Its not apart of any Original Defendants Legal Protest.

4         Document No. 31.: and Documents No. 27. are a violation of ARTICLE 1•• Section 10.

5         Reprisals Respondent JGZ's Statements Presented are Foreign, and is without Legal

6         Status; The Filings are Considered foreign, uncertified, AND NO One in the U.S. Court

7         System i§   t\llmrcd, to Litipte A Politlcal Subject   Matter. ; ARTICLE m .. Section 2. ,has

8         ended in Default (45 CFR Sec. 681.10 (d). The Document No. 38. is a Attempted Court

9         Bias Counter Claim Violation of the 6th Amendment • and IS Attempting TO Court over

10        ride U.S. Vs; Bebnart Bank, 301. , And the Foreign State Immunity Act Jurisdiction

11        (FSIA). Attemptina to sit on a International 'Ii'ade Zone is a Bias Criminal Action of

12        Political Status.    The Release of the Default Case to Plaintiff would be consistent with

13        Justice and Right, or whot Eyer the Honorable think is Ri1ht Constitutionly. The Riahts

14        to have the U.S. 10111 District Court Ruled Contracted Property in Plaintiff's Possession is

15        Law; and Right to have U.S. Marshal Service to Protect the Plaintiff Is Justified by the

16        WRIT's SERVICE. Respondent JGZ actions Violated Plaintiff Rights to the Constitutions

17        Protection. The Defaulted Defendants Should be Evicted from the Federal Property, A

18        Patten is due the Plaintiff. U.S. 10 District Court's Ruling should be Up held by the

19        WRIT.

20        Thus, having ,no more Business before the Honorabl.J?         ~ lf2        /     ~1
21        Plaintiff thank the Court.                      ~/ ~
22            -       /2021        Mis Majesty LORD PUNCHALL EXECUTIVE SU'l JU'RE
23            q / /J 4 /              ROYAL NUBIAN SUDAN GOVERNMENT EMBASST # 15
24            1/ .,L. 1/1_2o2 I        702 Wl!S FIRST STREF.T
25                                     DEMING, NEW MEXICO 88030
26                                      (575) 694:4385/punchanlwilliamlordrll~mm
27        I cenify that !J1aye mailro a Copy to all Defendants on Dare 1$/4(     £kii
28
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          LORD PUNCHALL
                        (t/4nc/4.JJ. ..            EXECUTIVE SU'I JU'RE
